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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

RANDY ETHAN HALPRIN,                    §
            Petitioner,                 §
                                        §
v.                                      §    Civ. Act. Nos. 3:13-CV-1535-L
                                        §                   3:19-cv-1203
LORIE DAVIS, Director,                  §       *Death Penalty Case*
Texas Department of Criminal            §
Justice Correctional Institutions,      §
Division,                               §
                  Respondent .          §

     RESPONDENT’S MOTION TO DISMISS SUCCESSIVE PETITION
                   WITH BRIEF IN SUPPORT

        Petitioner Randy Halprin was properly convicted and sentenced to die

for the murder of Irving Police Officer Aubrey Hawkins. Halprin filed his

federal habeas petition in 2014, which this Court denied in 2017. Docket Entry

(DE) 15, 49, 50. The Fifth Circuit denied Halprin’s application for a certificate

of appealability (COA). Halprin v. Davis, 911 F.3d 247, 260 (5th Cir. 2018).

Halprin’s petition for a writ of certiorari is due to be filed with the Supreme

Court by June 12, 2019. Halprin v. Davis, No. 18A1032. Halprin has now filed

in this Court a successive habeas petition challenging the same presumptively

valid conviction and sentence pursuant to 28 U.S.C. § 2241 & 2254. DE 58.

Halprin’s successive petition raises one claim alleging his right to due process

was violated by judicial bias. DE 58 at 21–38.
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       Halprin’s petition is successive because it challenges the same judgment

he previously challenged in this Court, and his claim does not fall within an

exception under 28 U.S.C. § 2244(b)(2). Accordingly, the Director respectfully

requests that this Court grant the Director’s Motion to Dismiss.

                               HALPRIN’S CLAIM

       Halprin alleges that his right to due process was violated because his

trial judge harbored anti-Semitic bias. As demonstrated below, Halprin’s claim

is impermissibly successive.

                        STATEMENT OF THE CASE

       Halprin was convicted and sentenced to death for the murder of Officer

Hawkins. I Clerk’s Record (CR) 48–53, 65. The Texas Court of Criminal

Appeals (CCA) affirmed Halprin’s conviction and sentence on direct appeal.

Halprin v. State, 170 S.W.3d 111 (Tex. Crim. App. 2005).

       Halprin filed a state application for a writ of habeas corpus in the trial

court raising thirty-one claims for relief. Ex parte Halprin, No. 77,175-01; I

SHCR 2–274. 1 Following five evidentiary hearings,               the trial    court

recommended relief be denied. VI SHCR 2558–723. The CCA adopted the trial

court’s findings and conclusions—with the exception of five findings and



1      “SHCR” refers to the Clerk’s Record of pleadings and documents filed with the
state habeas court.
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conclusions—and denied relief. Ex parte Halprin, No. 77,175-01 thru -04, 2013

WL 1150018 (Tex. Crim. App. March 20, 2013) (unpublished order).

        Halprin then filed an initial—followed by an amended—federal habeas

petition in this Court. DE 5, 15. This Court denied relief, an evidentiary

hearing, and a COA. DE 49. The Fifth Circuit denied Halprin’s application for

a COA. Halprin v. Davis, 911 F.3d at 260. Following extensions of time,

Halprin’s petition for a writ of certiorari is due to be filed with the Supreme

Court by June 12, 2019. Halprin v. Davis, No. 18A1032.

        On May 17, 2019, Halprin filed in this Court a successive federal habeas

petition and, later, a motion requesting a stay of this Court’s proceedings. 2 DE

58, 62. The instant Motion to Dismiss follows.

                           STATEMENT OF FACTS

I.      Facts of the Crime

        On December 13, 2000, Halprin and six other inmates—George Rivas,

Larry Harper, Joseph Garcia, Donald Newbury, Patrick Murphy, and Michael

Rodriguez—escaped from TDCJ’s Connally Unit near Kenedy, Texas. 44 RR

118–19. 3 The group—the Texas Seven—stole sixteen firearms and ammunition


2     The Director will separately respond to Halprin’s motion seeking a stay of this
Court’s proceedings.

3     “RR” refers to the Reporter’s Record of transcribed trial proceedings and is
preceded by volume number and followed by page numbers. “SX” refers to the State’s
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from the prison and fled to Dallas, committing armed robberies along the way

to finance their flight. 44 RR 119–22; 48 RR 7–10. On Christmas Eve, the

escapees robbed an Oshman’s Supersports store in Irving, Texas. The group

planned the robbery in meticulous detail, sending Halprin and Rodriguez to

case the store the day before. 42 RR 38; SX 931. On the day of the Oshman’s

robbery, the escapees entered the store just before closing time. 42 RR 39; SX

931. Halprin, Garcia, Newbury, and Rodriguez pretended to be customers. 42

RR 39–40; 48 RR 10–11; SX 931. Rivas and Harper entered the store disguised

as security officers investigating a string of thefts at another store. 41 RR 77–

80; 42 RR 39; 48 RR 11; SX 931. Murphy stayed outside, monitoring the police

frequencies and acting as a lookout. All the men were armed with stolen

firearms. 41 RR 87, 118–19; 42 RR 40; 48 RR 13–14; SX 931.

      The escapees ushered the employees at gunpoint to the break room

where the men forced them to kneel, facing the wall. 41 RR 91–94, 105; 42 RR

40; 48 RR 15–16; SX 931. After binding the employees, the escapees stole the

employee’s personal belongings, more than $70,000 in cash, forty-four

firearms, miscellaneous ammunition, and other clothing and equipment. 41 RR

96–104, 120–23; 42 RR 40–41; SX 47–49, 931. An employee’s girlfriend, who


exhibits followed by exhibit number and page numbers where applicable. “DX” refers
to the Defense’s exhibits, and again is followed by exhibit number and page numbers
where applicable.
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was parked outside the store, saw the commotion inside the store and

eventually called the police. 42 RR 113–23. Four units were dispatched to the

scene. 42 RR 56; SX 61, 756. Having just finished dinner with his wife, son,

and mother at a restaurant across the highway from Oshman’s, Irving Police

Officer Aubrey Hawkins was the first officer to arrive at the scene. 41 RR 54–

61; 48 RR 17–25.

      Still acting as lookout, Murphy radioed Rivas to warn him there was a

police squad car driving through the parking lot. 41 RR 107; 42 RR 40–41; 48

RR 17; SX 931. As the escapees were exiting the back of the store, Officer

Hawkins pulled in behind the escapees’ get-away vehicle. 41 RR 107; 42 RR 41;

48 RR 21-22; SX 931. Before Officer Hawkins could stop his car or unholster

his firearm, the escapees opened fire on the police cruiser. 42 RR 41; 48 RR 21–

25; SX 931. Officer Hawkins suffered eleven gunshot wounds fired by at least

five different guns. 43 RR 5–7, 67–68; 46 RR 86–99; 48 RR 25–26. Officer

Hawkins was then pulled from his patrol car and left on the pavement. Fleeing

the scene, the men backed their Ford Explorer get-away vehicle over Officer

Hawkins, dragging him several feet. 43 RR 41–60, 44 RR 65–66, 111–12; SX

174, 174B. The men fled before the other officers arrived at the scene. 41 RR

167–75.



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      Minutes later Officer Timothy Cassout arrived at the scene and

unsuccessfully tried to revive Officer Hawkins. 41 RR 167–75. Police secured

the area, interviewed the employees, and collected evidence. Later that night,

several of the employees identified the Texas Seven from a photographic

lineup. 41 RR 116–18. Police also found one of the firearms stolen from the

Connally Unit on the ground by the loading dock. 41 RR 178; 42 RR 10, 27–28;

43 RR 63–64; SX 39, 178. Officer Hawkin’s gun was missing from his holster.

42 RR 10.

      The seven escapees regrouped at a local motel and then fled to Colorado,

where they purchased an RV and a Jeep. 42 RR 42; 48 RR 31–37; SX 931.

Posing as traveling missionaries, the escapees rented a space at the Coachlight

Motel and RV Park in Woodland Park, Colorado. 42 RR 28–32; 44 RR 128–33.

On January 21, 2001, almost a month after the robbery and murder, a resident

of the RV park recognized Rivas and Rodriguez from the television show

“America’s Most Wanted” and alerted the authorities, who quickly converged

on the area. 44 RR 142–54; 45 RR 6–13. The next day law enforcement officers

captured five of the seven escapees. Rivas, Garcia, and Rodriguez were

captured by a Colorado SWAT team when they left the RV park in the Jeep

and stopped at a gas station just off the highway. 45 RR 13–14, 35, 47–60, 92–

97. Other law enforcement officers surrounded the escapees’ RV where Halprin

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and Harper were waiting. 45 RR 14–19, 33; 48 RR 41–42. Halprin surrendered;

Harper committed suicide by shooting himself twice in the chest. 45 RR 16–19,

36–41; 48 RR 42. Two days later, police captured the remaining two escapees,

Murphy and Newbury, after a standoff at a Colorado Springs hotel. 42 RR 43.

      A search of the escapees’ RV and Jeep uncovered Officer Hawkin’s

handgun and the firearms stolen from the Oshman’s and the Connally Unit.

45 RR 110; SX 62. The agents also recovered other evidence connected to the

prison escape and the murder, including: personal belongings of Oshman’s

employees; thousands of dollars in cash; ammunition; smoke grenades; rifle

scopes; and a receipt for four ballistic vests purchased just days before by

Rivas. 46 RR 10–48, 73–77; 47 RR 46; 49 RR 17–18. Police also found two-way

radios, scanners, and radio frequency guides for both Texas and Colorado. 46

RR 10–48, 73–77. The frequencies used by the Irving Police Department were

marked. 46 RR 28–29.

      When interviewed at the Teller County Jail in Colorado, Halprin, Rivas,

Rodriguez, and Newbury confessed to the robbery. 42 RR 32–42; 47 RR 11–12;

DX 25–27; SX 931. In his statement, Halprin admitted to voluntarily

participating in the armed robbery, but claimed that he never fired his gun and

was, therefore, less culpable than the rest of his accomplices. 42 RR 37–42; SX

931. Halprin’s confession, as well as those of his accomplices, were admitted

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into evidence at his trial. 42 RR 37, 84–85; DX 25–27; SX 931. At trial, the

defense tried to minimize Halprin’s culpability by presenting evidence that

Halprin was the youngest and least intelligent of the escapees, had no past

experience with guns or a history of robbery, and lacked leadership abilities.

47 RR 87–88; 51 RR 118, 126; DX 55, 56. Halprin also attempted to minimize

his participation in the escape and robbery by testifying on his own behalf. 47

RR 97–98; 48 RR 39–40, 50–51. When pressed during cross-examination,

however, Halprin admitted that he successfully manipulates people with his

lies, continues to lie, and often lies for no reason at all. 48 RR 59–60, 74–75,

101–04, 108, 131; 51 RR 113.

II.      Evidence Relating to Punishment

         A.    The State’s case

         In addition to the heinous nature of the crime, the jury also heard

testimony at the guilt/innocence phase detailing Halprin’s participation in the

escape from the Connally Unit. When fellow prisoner George Rivas invited

Halprin to join in his escape plan, Halprin readily agreed. 47 RR 111–17.

During the escape, the men ambushed a total of fourteen jailers, civilian

employees, and trustees in the prison maintenance shop. 48 RR 4; 49 RR 57–

78, 151, 170. Halprin and the other men physically overcame the hostages,

bound their hands, and locked them in a storage room. Some of the hostages

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were severely injured. 48 RR 4, 112–13, 119–21; 49 RR 88-93, 122–23, 130,

149–50, 167–69, 171, 177–78. After overcoming a guard in a watchtower, the

men escaped from the prison in a maintenance department van, taking

numerous weapons with them. 48 RR 6–8. While at large, the escapees robbed

a Radio Shack store and a Western Auto Parts store before robbing the

Oshman’s Superstore and killing Officer Hawkins. 48 RR 7–10.

      During the punishment phase, the jury heard additional evidence

concerning     Halprin’s   violent   disposition   and     potential   for   future

dangerousness. Prior to the escape, Halprin had been serving a thirty-year

sentence for the felony offense of injury to a child. 48 RR 53–54, 82–83; 50 RR

126–29; SX 948–49. In August 1996, Halprin had been dating a woman named

Charity Smith and was babysitting her toddler son, Jarrod. 47 RR 105. Halprin

savagely beat the toddler, fracturing his skull, legs, and arms. 47 RR 100–02,

108; 48 RR 78–81; 49 RR 197–98, 205; SX 941–47. Both the skull fracture and

the right femoral fracture could have been life threatening to the toddler. 51

RR 18.

      Halprin was charged with one count of injury to a child, to which he

confessed, pled guilty, and received a thirty-year sentence. 48 RR 53–54; SX

948–49. Halprin’s confession to Fort Worth detective Renee Camper was read

to the jury:

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      The first time I hit Jarrod he was sitting up on the bed and I hit
      him up side the left side of his head, just a slap. I hit him about
      five or six times. I didn’t realize how hard I was hitting him. He
      laid back down and I pulled him back up and he was saying
      “mama.” And I said, “Do you want to go to mama” and put him
      down. And then I kicked him on his real hurt knee and then he fell
      down. I got back up and I pushed him back down and he hit the
      floor real hard. I pulled him back up right hard by the wrist and I
      was telling him to stop crying. I didn’t realize I was hurting him,
      but I think that I could have broken his arms then. I could have
      hurt his other leg when I was pushing him back down because he
      was trying to stay off his hurt leg and he was twisting, trying to
      get away, and I was shoving him back down. I guess I hurt his eye
      when I slapped him because I was slapping him hard enough to
      bruise his face. I wasn’t aiming for any particular place. I was just
      slapping him. I got scared and I put him down on the bed and kept
      saying, “I’m sorry, I’m sorry.”

50 RR 128–29.

      B.    Evidence presented by the Defense

      In his defense, Halprin offered the testimony of several witnesses to

garner the jury’s sympathy and show that he would not be a future danger if

sentenced to life imprisonment. The first witness was Thomas Warren from

TDCJ’s classification and records division, who testified that TDCJ had made

changes to the way prisoners were classified after the escape of the Texas

Seven. 51 RR 32. The defense then called former TDCJ Assistant Director S.O.

Woods, who testified generally about the prison conditions Halprin would be

in if sentenced to life imprisonment and described the prison while a videotape

of the prison’s layout played for the jury. 51 RR 72–94. Woods stated that

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Halprin would be placed in administrative segregation if sentenced to life in

prison, and that his life sentence would be stacked on top of the thirty-year

sentence he was previously serving. 51 RR 65–67. Woods also stated that while

Halprin did have four minor disciplinary violations prior to his escape, he did

not have any major violations and was not affiliated with any gang. 51 RR 50–

53. Greg Porter, a sergeant with the Dallas County Sheriff’s Department, then

added that there had only been one minor incident since Halprin was in

custody during trial, and that was for refusing to eat a tray of food. 51 RR 126–

27.

      Mindi Sternblitz and Jason Goldberg were childhood friends of Halprin

before he moved away to Kentucky in the seventh grade. 52 RR 5–13, 34–46.

Both testified that Halprin had a good heart and did not get into any more

trouble at school than any other young boy his age. 51 RR 5–8, 37–39.

According to the friends, Halprin and his brother had a strained relationship

with their adoptive father, Dan, and Halprin was always trying to please Dan

any way he could. 51 RR 8–14, 37–42. Jason’s mother, Terri Goldberg, agreed

that Halprin had a strained relationship with his father, and testified that

Halprin was a good and well-behaved person about whom she never had one

single negative thing to say. 51 RR 54–68. On cross-examination, however, all



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three admitted that Halprin’s parents loved him, provided a loving home, and

tried to be good parents. 51 RR 18–20, 48–49, 69–71.

      Finally, the defense called Dr. Kelly Goodness, a clinical and forensic

psychologist who interviewed Halprin and twelve of his acquaintances and

gave Halprin a battery of psychological tests. 52 RR 4–72; 53 RR 16–62. Dr.

Goodness testified that in her opinion, Halprin had a tumultuous childhood, a

rigid adoptive father, untreated attention deficit disorder, avoidant personality

disorder, and a predilection for drug abuse and depression. 52 RR 27–28, 30–

34, 37, 39–41; 53 RR 28–41. She further stated that Halprin’s disorders were

not properly treated and that there was a complete absence of guidance from

his parents that was necessary for a child with such special needs. 53 RR 37–

39. Halprin’s drug abuse was also a significant factor that helped him make

bad decisions. 53 RR 39. But on cross-examination, Dr. Goodness conceded that

Halprin was not insane and that he was capable of making a rational decision

at the time of the murder. 53 RR 53–62.

                          STANDARD OF REVIEW

      Prior to filing a successive federal habeas petition in district court, a

petitioner must obtain authorization from the Fifth Circuit to do so. 28 U.S.C.

§ 2244(b)(3)(A). To establish that he is entitled to such authorization, Halprin

must make a prima facie showing that his claim falls within an exception

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under 28 U.S.C. § 2244(b). In re Campbell, 750 F.3D 523, 530 (5th Cir. 2014).

That statute requires that

      (1)   A claim presented in a second or successive habeas corpus
            application under section 2254 that was presented in a prior
            application shall be dismissed.

      (2)   A claim presented in a second or successive habeas corpus
            application under section 2254 that was not presented in a
            prior application shall be dismissed unless-

            (A)   the applicant shows that the claim relies on a
                  new rule of constitutional law, made retroactive
                  to cases on collateral review by the Supreme
                  Court, that was previously unavailable; or

            (B)

                  (i)    the factual predicate for the claim
                         could not have been discovered
                         previously through the exercise of
                         due diligence; and

                  (ii)   the facts underlying the claim, if
                         proven and viewed in light of the
                         evidence as a whole, would be
                         sufficient to establish by clear and
                         convincing evidence that, but for
                         constitutional error, no reasonable
                         factfinder would have found the
                         applicant guilty of the underlying
                         offense.

28 U.S.C. § 2244(b). Under this standard, Halprin must make a sufficient

showing of possible merit to warrant a fuller exploration by the district court.

Reyes-Requena v. United States, 243 F.3d 893, 898–99 (5th Cir. 2001). The

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Fifth Circuit may grant authorization to file a successive petition “[i]f in light

of the documents submitted with the application it appears reasonably likely

that the application satisfies the stringent requirement for the filing of a

second or successive petition.” In re Morris, 328 F.3d 739, 740 (5th Cir. 2003).

                                  ARGUMENT

I.      This Court Is Without Jurisdiction to Consider Halprin’s
        Petition Because He Has Not Obtained Permission from the Fifth
        Circuit to File a Successive Petition.

        Halprin’s first federal habeas petition was denied with prejudice. DE 50.

He has now filed a successive federal habeas petition raising a new claim

alleging his right to due process was violated because his trial judge, Vickers

Cunningham, harbored racist and religiously-bigoted views. DE 58. Halprin

does not dispute that he has not requested or received authorization from the

Fifth Circuit to file a successive habeas petition. Consequently, this Court is

without jurisdiction to consider the merits of Halprin’s petition. 28 U.S.C.

§ 2244(b)(3)(A).

        Halprin argues that his petition is not successive because § 2244(b) does

not—or should not—apply to his claim of judicial bias because the evidence

supporting his claim could not have been discovered until May 2018 when

media reports were published regarding Cunningham’s bigoted views. DE 58

at 44–48. But the Fifth Circuit has stated plainly that “claims based on a

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factual predicate not previously discoverable are successive.” Leal Garcia v.

Quarterman, 573 F.3d 214, 221 (5th Cir. 2009) (emphasis in original).

Halprin’s reading of § 2244(b) to render it inapplicable to claims that might not

be discovered until after the initial federal habeas petition is denied “would

permit an end-run around § 2244.” Id. at 221. Indeed, the Fifth Circuit stated

that AEDPA “forbids such a reading.” Id. Consequently, this Court should

dismiss Halprin’s successive petition for want of jurisdiction. See Burton v.

Stewart, 549 U.S. 147, 157 (2007) (“The long and short of it is that [the

petitioner] neither sought nor received authorization from the Court of Appeals

before filing his . . . petition, a ‘second or successive’ petition challenging his

custody, and so the District Court was without jurisdiction to entertain it.”).

      Halprin also argues that his petition is not successive because it raises a

claim that is similar in nature to a claim alleging incompetence to be

executed—a claim that is not successive even if raised after the initial federal

habeas petition is denied. See Panetti v. Quartermani, 551 U.S. 930, 945 (2007).

He argues that his claim of judicial bias involves structural error, which, like

competency to be executed, does not depend on the assessment of a petitioner’s

guilt. DE 58 at 44. Similarly, Halprin argues that the successiveness bar in

§ 2244(b) should not apply to claims of judicial bias for practical reasons and



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because doing so would be contrary to congressional intent. DE 58 at 45–48.

Halprin’s argument is unsupportable.

      First, as noted above, the fact that the factual basis of a claim is not

discovered until after an initial federal habeas petition is denied is not a basis

on which to conclude that § 2244(b) is inapplicable. Leal Garcia, 573 F.3d 221.

Indeed, § 2244(b) explicitly contemplates petitioners discovering the predicate

for a federal habeas claim after the conclusion of the initial proceedings. 28

U.S.C § 2244(b)(2)(B). In such a case, a petitioner must obtain authorization

from the court of appeals to pursue such a claim in a successive petition and

must meet the stringent requirements of the statute. 28 U.S.C. § 2244(b)(3)(A),

(C); see also In re Cathey, 857 F.3d 221, 226 (5th Cir. 2017). That evidence of

judicial bias might not be discovered until after the initial federal habeas

petition is denied does not render AEDPA inapplicable. Halprin’s effort to

carve out an exception from § 2244(b) for claims that depend on facts that may

be discovered after the initial habeas proceedings fails because the statute

explicitly contemplates such an event and sets out the requirements for raising

such a claim. DE 58 at 47.

      Notably, § 2244(b)’s successiveness bar applies to claims the factual basis

of which might not be initially discoverable. For example, claims alleging that

the prosecution withheld exculpatory evidence are undoubtedly subject to

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§ 2244(b). Blackman v. Davis, 909 F.3d 772, 778 (5th Cir. 2018); see also In re

Raby, --- F.3d ---, 2019 WL 2353241, at *7–9 (5th Cir. 2019); In re Davila, 888

F.3d 179, 183–87 (5th Cir. 2018); Johnson v. Dretke, 442 F.3d 901, 911–12 (5th

Cir. 2006). This is so even though evidence to support such a claim might not

be discovered—due to suppression—until after a petitioner’s initial federal

habeas proceedings. In such a case, the statute requires a showing of diligence

and that no reasonable factfinder would have found the petitioner guilty in

light of the newly discovered evidence. 28 U.S.C. § 2244(b)(2)(B)(i), (ii). The

nature of such a claim does not render § 2244(b) inapplicable.

      Second, Halprin’s claim of judicial bias is not similar to a claim that a

petitioner is incompetent to be executed. In Panetti, the Supreme Court held

that an allegation that the petitioner was incompetent to be executed was not

successive. 551 U.S. at 947. The Court concluded that § 2244(b) does not render

such a claim impermissibly successive because the claim does not become ripe

until an execution date has been set. Id. at 945. The Court stated its holding

plainly: “The statutory bar on ‘second or successive’ applications does not apply

to [an incompetence-to-be-executed] claim brought in an application filed when

the claim is first ripe.” Id. at 947. Moreover, a claim alleging incompetence for

execution challenges “some other species of legal error” that arises after the



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underlying conviction—not the conviction itself. See Leal Garcia, 573 F.3d at

222.

       Unlike an incompetence-to-be-executed claim, Halprin’s judicial-bias

claim explicitly argues his conviction occurred in violation of due process when

Judge Cunningham failed to recuse himself because of a lifelong prejudice that

existed at the time of trial. Such a claim did not become “ripe” only when he

discovered evidence to support it. Rather, the legal claim that Halprin’s trial

judge was biased was always available; he simply discovered the factual

predicate of the claim after his initial petition was denied. See id. Again, the

statute explicitly contemplates petitioners discovering the predicate for a

habeas claim after the initial habeas proceedings conclude. 28 U.S.C.

§ 2244(b)(2)(B).

       Further, contrary to Halprin’s assertion, the Court in Panetti did not

conclude that § 2244(b) was inapplicable to claims of incompetence to be

executed because such claims do not implicate a petitioner’s guilt or innocence

of the offense. DE 58 at 44, 46 (citing Panetti, 551 U.S. at 943–46). Rather, the

Court held that such claims were not subject to the successiveness bar because




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they may not be “ripe” when the initial federal habeas petition is filed. Panetti,

551 U.S. at 945–47. 4

       Halprin asks this Court to overlook Panetti’s rationale and to extend its

exception to his claim because he cannot meet the statute’s requirements. He

suggests that his claim should be excepted from the statute because it is a

“structural defect.” DE 58 at 54. But Penry 5 and Atkins 6 claims are structural

error claims, and both are subject to the statute’s provisions. See In re Webster,

605 F.3d 256, 258 (5th Cir. 2010); In re Kunkle, 398 F.3d 683, 684–85 (5th Cir.

2005).

       Halprin goes on to suggest that his claim should be excepted from the

statute because it does not implicate his innocence of capital murder. But

Panetti does not stand for the proposition that only innocence-implicating

claims are subject to § 2244(b)’s stringent requirements. Nor does it stand for

the inverse—that non-innocence claims are not subject to any limitation and

can therefore be raised in petition after petition after petition. Not



4     A second federal habeas petition may also not be impermissibly successive
where the initial petition was dismissed to allow for exhaustion of state-court
remedies, Slack v. McDaniel, 529 U.S. 473, 478 (2000), or if the second petition
attacks a separate judgment. Magwood v. Patterson, 561 U.S. 320, 332–34 (2010).
This case implicates neither circumstance.

5      Penry v. Lynaugh, 492 U.S. 302 (1989).
6      Atkins v. Virginia, 536 U.S. 304 (2002).
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surprisingly, other claims that do not contemplate a petitioner’s innocence

have been held subject to the statute. For example, § 2244(b)(2)(B) applies to

claims alleging intellectual disability and ineffective assistance of trial counsel

for failure to adequately investigate mitigating evidence because of—not in

spite of—the fact that such claims do not implicate a petitioner’s innocence of

the offense. See In re Garcia, 756 F. App’x 391, 394 (5th Cir. 2018) (“As to

[§ 2244(b)(2)(B)(ii)], Garcia’s claim that federal habeas counsel was ineffective

by not investigating further mitigating evidence that could have been brought

at the punishment phase of trial does not, by its nature, affect whether a

‘reasonable factfinder would have found [Garcia] guilty of the underlying

offense.’”) (emphasis in original) (citing In re Rodriguez, 885 F.3d 915, 918 (5th

Cir. 2018)); Turner v. Epps, 460 F. App’x 322, 330 (5th Cir. 2012); In re Webster,

605 F.3d at 258 (“Had Congress wanted the provision to cover challenges to a

sentence—even if only to a death sentence—it easily could have referenced

sentences explicitly in that context.”); cf. Rocha v. Thaler, 626 F.3d 815, 825–

26 (5th Cir. 2010) (“The quality of mitigation evidence the petitioner would

have introduced at sentencing has no bearing on his claim of actual innocence

of the death penalty.”). Such claims necessarily fail to satisfy § 2244(b)(2)(B).

It does not follow that they are excepted from it.



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      But that is precisely what Halprin argues: that the statute does not

apply because he cannot meet it. Under his logic, § 2244(b) would only bar a

tiny fraction of claims in which petitioners allege their innocence, yet fail to

establish it. For all the rest of the claims—which are many—petitioners would

be entitled to endless rounds of litigation. Such an interpretation would gut

the statute and the finality it was written to protect.

      Moreover, application of § 2244(b) to Halprin’s petition would not

require, as he suggests, all petitioners to allege a claim of judicial bias in

federal court to preserve such a potential claim. DE 58 at 47. Again, § 2244(b)

lays out the requirements for raising a claim when its factual support is

discovered after the initial habeas petition is denied. 28 U.S.C. § 2244(b)(2)(i),

(ii). Simply put, Halprin does not justify Panetti’s extension—for the first

time—to late discovered non-innocence claims.

      The statute’s provisions against successive petitions apply to Halprin’s

judicial bias claim. Because Halprin did not obtain authorization from the Fifth

Circuit to file his successive petition, this Court does not have jurisdiction to

consider it.




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II.    The Court Should Dismiss Halprin’s Petition Because He Does
       Not Meet the Standards under 28 U.S.C. § 2244 for Filing a
       Successive Habeas Corpus Petition.

       Even    if   this   Court   could   consider   Halprin’s    petition   without

authorization from the Fifth Circuit, the petition would be subject to dismissal

because Halprin’s claim does not meet the standards under § 2244 for filing a

successive petition. Specifically, his claim that his trial judge harbored racist

and religiously-bigoted views does not and cannot demonstrate that no

reasonable factfinder would have found him guilty of capital murder but for

the alleged constitutional error. 7 28 U.S.C. § 2244(b)(2)(B). Consequently,

Halprin’s petition should be dismissed.

       To obtain authorization to file a successive petition, Halprin must make

a prima facie showing that he satisfies the prerequisites for a successive

petition by showing that it is “reasonably likely that the application satisfies

the stringent requirement for the filing of a second or successive petition.” In

re Campbell, 750 F.3d at 530; see In re Morris, 328 F.3d at 740-41; 28 U.S.C.

§ 2244(b)(3)(C). This requires Halprin to show that no reasonable factfinder

would have found him guilty but for Cunningham’s alleged judicial bias. 28

U.S.C. § 2244(b)(2)(B)(ii).



7      Halprin does not argue that his judicial bias claim relies on a new, retroactive
rule of constitutional law. 28 U.S.C. § 2244(b)(2)(A).
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       To be clear, the details of Cunningham’s living trust and the accounts of

those who knew Cunningham regarding his bigoted statements and beliefs are

troubling to say the least. The Attorney General’s Office does not condone or

excuse Cunningham’s creation of his living trust, and the racist and

religiously-bigoted statements he is alleged to have made are abhorrent. To

obtain merits review of his successive petition, however, § 2244(b)(2)(B)

requires that Halprin show that his new evidence demonstrate that, but for

the alleged constitutional error, no reasonable factfinder would have found him

guilty of capital murder. Halprin’s claim of judicial bias does not make such a

showing or even allege that Halprin is innocent of the offense. 8 Consequently,

he fails to satisfy the stringent requirements of § 2244 and his petition should

be dismissed as impermissibly successive.

                                  CONCLUSION

       For the foregoing reasons, the State respectfully requests that this Court

dismiss Halprin’s petition for lack of jurisdiction.

                                        Respectfully submitted,

                                        KEN PAXTON
                                        Attorney General of Texas


8      Halprin argues that he can show actual innocence of the death penalty. DE 58
at 44 n.17. That is wholly irrelevant to § 2244(b)(2)(B)(ii). Again, the successiveness
bar requires a showing of actual innocence of the crime of conviction, not the sentence.
In re Webster, 605 F.3d at 258.
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                       CERTIFICATE OF SERVICE

      I do hereby certify that on June 12, 2019, I electronically filed the
foregoing pleading with the Clerk of the Court for the U.S. District Court,
Southern District of Texas, using the electronic case-filing system of the Court.
The electronic case-filing system sent a “Notice of Filing” to the following
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